
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed, with costs.
*994We agree with the Appellate Division that plaintiff’s causes of action against the State officials are primarily claims against the State for money damages and as such could only be entertained in the Court of Claims (Court of Claims Act, § 9, subd 4). Nor can it be said that the Appellate Division abused its discretion in not converting this complaint requesting monetary compensation for past services into an article 78 proceeding.
Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur; Chief Judge Cooke taking no part.
Order affirmed, with costs, in a memorandum.
